Case 1:20-mc-00036-JEB-DAR Document1 Filed 06/08/20 Page 1 of 4

ORIGINAL

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

In re: Application Pursuant to 28 U.S.C. § 1782
of

THE REPUBLIC OF THE GAMBIA
Attorney General's Chambers
Ministry of Justice

Marina Parade

Banjul

The Gambia

Case: 1:20-—mc-00036

Assigned To : Boasberg, James E.
Assign. Date : 6/8/2020
Description: Misc.

Petitioner,

V.

FACEBOOK, INC.
575 7th Street, NW
Washington, DC 20004,

Respondent.

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APPLICATION FOR ORDER TO TAKE DISCOVERY PURSUANT TO
28 U.S.C. § 1782

Based on the accompanying memorandum of law and the declaration of Timothy
O’Toole, the Republic of Gambia (“The Gambia”), a sovereign State located on the coast of
West Africa, respectfully moves for an order pursuant to 28 U.S.C. § 1782 to allow it to issue
subpoenas pursuant to Federal Rules of Civil Procedure 26, 30, 34, and 45 directing Facebook,
Inc. (“Facebook”) to produce documents and submit to a deposition for use in connection with an
action brought by the Republic of The Gambia against the Republic of the Union of Myanmar in

the International Court of Justice in The Hague, The Netherlands (the “ICJ”). That case, which

 

 

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Angela D. Caesar, Clerk of Court
U.S. District Court, District of Columbia

 

 

 

 
Case 1:20-mc-00036-JEB-DAR Document1 Filed 06/08/20 Page 2 of 4

was commenced on November 11, 2019, is styled The Gambia v. Myanmar (Application of the
Convention on the Prevention and Punishment of the Crime of Genocide).

As explained in the accompanying memorandum of law, the Gambia’s application
satisfies all three statutory requirements necessary to obtain discovery under § 1782. See In Re
Veiga, 746 F. Supp. 2d 8, 17 (D.D.C. 2010) (“A district court has the authority to grant
an application when three conditions are met: (1) the person from whom discovery is sought
resides or is found within the district; (2) the discovery is for use in a proceeding before a foreign
or international tribunal; and (3) the application is made by an interested person.”). Specifically,
Facebook is located or found in the District of Columbia; The Gambia seeks this discovery for
use in a proceeding pending before an international tribunal, the ICJ; and The Gambia is
an “interested person,” as a litigant in the ICJ proceedings.

In addition, the four discretionary factors identified by the United States Supreme Court
in Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 264-65 (2004), all weigh in favor
of granting this Application. Facebook is not a party to the proceedings before the ICJ; the ICJ is
not opposed to this form of discovery; The Gambia is not concealing an attempt to circumvent
the requirements of the ICJ; and the discovery sought is narrowly tailored so as not to be unduly
burdensome to the Respondent.

Thus, the Republic of The Gambia respectfully requests this Court to enter an order:

1. Granting The Gambia’s Application for discovery from Facebook pursuant to 28

U.S.C. § 1782;

2. Authorizing The Gambia to take discovery from Facebook relating to the issues

identified in its Application, including issuing subpoenas for a deposition and the

production of documents in the form attached to the proposed order at Schedule A;
Case 1:20-mc-00036-JEB-DAR Document1 Filed 06/08/20 Page 3 of 4

3. Directing Facebook to comply with such subpoenas in accordance with the Federal
Rules of Civil Procedure and the Rules of this Court;
4. Appointing the undersigned to issue, sign and serve such subpoenas upon

Facebook.

Respectfully submitted,
THE REPUBLIC OF THE GAMBIA

eK RR G5

Dated: June 5, 2020 Timothy P. O’Toole (D.C. Bar No. 469800)
Aiysha S. Hussain (D.C. Bar No. 1019848)
MILLER & CHEVALIER CHARTERED
900 16th Street., N.W.
Washington, D.C. 20006
(202) 626-5800
So Se re

Case 1:20-mc-00036-JEB-DAR Document1 Filed 06/08/20 Page 4 of 4

CERTIFICATE OF SERVICE

I hereby certify that on June 5, 2020, I caused a true and correct copy of (1) The Republic
of the Gambia’s Application for Order to Take Discovery Pursuant to 28 U.S.C. § 1782, (2) The
Republic of the Gambia’s Memorandum of Law in support of its Application, (3) Declaration of
Timothy O’Toole in support of the Application, and (4) a proposed order granting the

Application, to be sent via Federal Express, overnight delivery to the following addresses:

Facebook
575 7 Street NW
Washington, D.C. 20004

Corporation Service Company
1090 Vermont Avenue, NW
Washington, D.C. 20005

Jennifer Gillian Newstead
General Counsel
Facebook

1601 Willow Road
Menlo Park, CA 94025 4 Qo

Timothy P. O’Toole

 
